            Case 8:18-cv-02941-PX Document 121 Filed 01/10/22 Page 1 of 2

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

       CHAMBERS OF                                                                       U.S. COURTHOUSE
       GINA L. SIMMS                                                                  6500 CHERRYWOOD LANE
 UNITED STATES MAGISTRATE JUDGE                                                     GREENBELT, MARYLAND 20770
MDD_GLSChambers@mdd.uscourts.gov                                                           (301) 344-0627




                                                        January 10, 2022


  RE:    Mark Eke v. United Therapeutics, et al.
         Case No. PX 18-2941

                          LETTER ORDER REGARDING DISCOVERY

  Dear Mr. Eke and Counsel:

          The undersigned has reviewed “Plaintiff’s Status Report,” (ECF No. 119), which was filed
  on December 30, 2021. I have also reviewed the December 31, 2021 letter filed by counsel for the
  Defendants. (ECF No. 120). In addition, the Court reviewed again ECF No. 109, a letter filed by
  Defendants regarding Plaintiff’s allegedly-deficient responses to discovery propounded. In his
  status report, the Plaintiff strongly suggested that he was able to locate counsel to represent him in
  this matter, and that he “expected to receive a retainer within the next few business days.” (ECF
  No. 119, ¶ 3). Plaintiff also stated that he “intends to respond to Defendants (sic) outstanding
  discovery requests after new counsel has been retained.” (ECF No. 119).

          The Court notes that ten days have passed since the status report was filed, and that no
  counsel has entered his/her appearance in this matter on Plaintiff’s behalf. What Plaintiff continues
  to misunderstand is that this Court will not require the Defendants to wait indefinitely for Plaintiff
  or his new counsel to respond to all of the outstanding discovery requests set forth in the October
  28, 2021 letter filed by the Defendants. (ECF No. 109). As the Court first made abundantly clear
  to the Plaintiff almost three months ago (see ECF No. 105), and again roughly two months ago
  (see ECF Nos. 114, 115), Plaintiff must continue to move forward pro se unless and until counsel
  enters an appearance. Indeed, as the Court’s November 16, 2021 Order made clear, discovery is
  presently slated to close in February, 2022. (ECF No. 115).

         In their December 31, 2021 letter, the Defendants request a further status hearing. I have
  again reviewed the outstanding discovery requests articulated on pages 2-4 of ECF No. 109, as
  well as all prior submissions and the docket sheet in this case. I do not find that a hearing is
  necessary at this time.

          Instead, by no later than January 18, 2022, Plaintiff is hereby ordered to file a response to
  ECF No. 109. The response shall be in the form of a letter, not to exceed four pages in length,
  single-spaced (excluding attachments). The due date for Defendants’ reply to that letter is
          Case 8:18-cv-02941-PX Document 121 Filed 01/10/22 Page 2 of 2



January 21, 2022. That response shall also be no longer than four pages in length, single-spaced
(excluding attachments).

       Plaintiff is put on notice that his failure to respond to this Order could lead to adverse
consequences, including a finding that he has waived any and all objections to the interrogatory
and document production requests made by the Defendants. If the Court ultimately finds that
waiver has occurred, and that all requested discovery is consistent with Fed. R. Civ. P. 26(b)(1), it
has several options. For instance, the Court could enter an order requiring Plaintiff to produce
complete responses to the interrogatories and document production requests. Or, the Court could
allow Defendants to file a motion for sanctions. See, e.g., Fed. R. Civ. P. 37(b)(2)(A)(i), (ii), (iii),
(vii).

       Although informal, this is an Order of the Court and shall be docketed as such.



                                                                     /s/
                                                       The Honorable Gina L. Simms
                                                       United States Magistrate Judge




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